            Case 24-12260-amc                      Doc        Filed 01/20/25 Entered 01/20/25 07:48:20                            Desc Main
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   Fill in this information to identify the case:

Debtor 1       Edward C. Tomaszewski, Jr.

Debtor 2
(Spouse, if filing)


   United States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                  (State)
   Case number        24-12260-amc

Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges 12/16
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


 Name of creditor: US Bank Trust National Association, Not In Its                   Court claim no. (if known): 4
 Individual Capacity But Solely As Owner Trustee For VRMTG Asset
 Trust

 Last 4 digits of any number you use to
 identify the debtor's account:                              XXXXXX3749

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
       X No
       o Yes
       Date of the last note:___/___/____


 Part 1:          Itemize Postpetition Fees, Expenses, and Charges



Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
approved an amount, indicate that approval in parentheses after the date the amount was incurred.

        Description                                                      Dates incurred                                 Amount

   1. Late charges                                                                                                  (1) $ 0.00
                                                                                                                        $ 0.00

   2. Non-sufficient funds (NSF) fees                                                                                (2) $ 0.00

   3. Attorney fees                                                       7/22/24 Plan Review ($400)                 (3) $ 400.00


   4. Filing fees and court costs                                                                                    (4) $ 0.00

   5. Bankruptcy/Proof of claim fees                                      9/9/2024 POC 410a ($250)                   (5) $800.00
                                                                          9/9/2024 Proof of Claim ($550)

   6. Appraisal/Broker's price opinion fees                                                                          (6) $ 0.00

   7. Property inspection fees                                                                                       (7) $ 0.00

   8. Tax advances (non-escrow)                                                                                      (8) $ 0.00

   9. Insurance advances (non-escrow)                                                                                (9) $ 0.00

  10. Property preservation expenses. Specify:                                                                      (10) $ 0.00

  11. Other. Specify:                                                                                               (11) $ 0.00




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12. Other. Specify:                                                                                             (12) $ 0.00

13. Other. Specify:                                                                                             (13) $ 0.00

14. Other. Specify:                                                                                             (14) $


The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1332(b)(5) and Bankruptcy Rule 3002.1.




 Debtor 1         Edward C. Tomaszewski, Jr.                                          Case number (if known) 24-12260-amc



Part 2:        Sign Here


   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number.
   Check the appropriate box:

   o        I am the creditor.

   X        I am the creditor's attorney or authorized agent.


   I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
   knowledge, information, and reasonable belief:



                 X     /s/ Daniel P. Jones                                       Date January 20, 2025
                       Signature


   Print:              Daniel P. Jones                                           Title: Attorney for Creditor
                       First Name                  Middle Name Last Name


   Company             Stern & Eisenberg, PC


   Address             1581 Main Street, Suite 200
                       Number             Street
                       _Warrington                 PA            18976
                       City                                     State      ZIP Code


   Contact phone (215) 572-8111                                                        Email   djones@sterneisenberg.com




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                                             Certificate of Service
I hereby certify that a copy of the foregoing Notice of Postpetition Mortgage Fees, Expenses, and Charges was served
electronically through the Court's ECF System at the e-mail address registered with the Court on this Date
to the following:
Date:       January 20, 2025


Michael A. Cibik                                                    Scott F. Waterman
Cibik Law, P.C.                                                     Chapter 13 Trustee
1500 Walnut Street                                                  2901 St. Lawrence Ave.
Suite 900                                                           Suite 100
Philadelphia, PA 19102                                              Reading, PA 19606
help@cibiklaw.com                                                   ECFMail@ReadingCh13.com
Counsel for Debtor                                                  Bankruptcy Trustee

U.S. Trustee
United States Trustee
Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street
Suite 320
Philadelphia, PA 19107
USTPRegion03.PH.ECF@usdoj.gov
US Trustee


and by standard first-class mail postage prepaid to:

Edward C. Tomaszewski, Jr.
2724 E Allegheny Ave
Philadelphia, PA 19134-5916
Debtor(s)




                                                                  /s/ Daniel P. Jones
                                                                  Daniel P. Jones, BAR# 321876
                                                                  Stern & Eisenberg, PC
                                                                  1581 Main Street, Suite 200
                                                                  The Shops at Valley Square
                                                                  Warrington, PA 18976
                                                                  Ph: (215) 572-8111
                                                                  djones@sterneisenberg.com
                                                                  Attorney for Secured Creditor

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